
28 A.3d 667 (2011)
421 Md. 595
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner
v.
Richard Donald LIEBERMAN, Respondent.
Misc. Docket AG No. 21, September Term, 2011.
Court of Appeals of Maryland.
September 19, 2011.

ORDER
This matter came before the Court on the Joint Petition of the Attorney Grievance Commission of Maryland and Respondent, Richard Donald Lieberman, to disbar the Respondent, by consent, from the practice of law.
The Court, having considered the Petition, it is this 19th day of September, 2011,
ORDERED, by the Court of Appeals of Maryland, that the Respondent, Richard Donald Lieberman, be and he is hereby disbarred by consent from the practice of law in the State of Maryland, and it is further,
ORDERED, that the Clerk of this Court shall remove the name of Richard Donald Lieberman from register of attorneys in the Court and certify that fact to the Client Protection Fund and all Clerks of all judicial tribunals in this State in accordance with Maryland Rule 16-773(d).
